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                   Exhibit 25
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This agreement was written in English (US). To the extent any translated version of this agreement conflicts with the
English version, the English version controls. Please note that Section 17 contains certain changes to the general terms
for users outside the United States.

Date of Last Revision: November 15, 2013.


Statement of Rights and Responsibilities


This Statement of Rights and Responsibilities ("Statement," "Terms," or "SRR") derives from the Facebook Principles,
and is our terms of service that governs our relationship with users and others who interact with Facebook. By using or
accessing Facebook, you agree to this Statement, as updated from time to time in accordance with Section 14 below.
Additionally, you will find resources at the end of this document that help you understand how Facebook works.

   1. Privacy

       Your privacy is very important to us. We designed our Data Use Policy to make important disclosures about how
       you can use Facebook to share with others and how we collect and can use your content and information. We
       encourage you to read the Data Use Policy, and to use it to help you make informed decisions.


   2. Sharing Your Content and Information

       You own all of the content and information you post on Facebook, and you can control how it is shared through
       your privacy and application settings. In addition:
         1. For content that is covered by intellectual property rights, like photos and videos (IP content), you
             specifically give us the following permission, subject to your privacy and application settings: you grant us
             a non-exclusive, transferable, sub-licensable, royalty-free, worldwide license to use any IP content that you
             post on or in connection with Facebook (IP License). This IP License ends when you delete your IP
             content or your account unless your content has been shared with others, and they have not deleted it.
         2. When you delete IP content, it is deleted in a manner similar to emptying the recycle bin on a computer.
             However, you understand that removed content may persist in backup copies for a reasonable period of
             time (but will not be available to others).
         3. When you use an application, the application may ask for your permission to access your content and
             information as well as content and information that others have shared with you. We require applications
             to respect your privacy, and your agreement with that application will control how the application can use,
             store, and transfer that content and information. (To learn more about Platform, including how you can
             control what information other people may share with applications, read our Data Use Policy and Platform
             Page.)
         4. When you publish content or information using the Public setting, it means that you are allowing everyone,
             including people off of Facebook, to access and use that information, and to associate it with you (i.e., your
             name and profile picture).
         5. We always appreciate your feedback or other suggestions about Facebook, but you understand that we may
             use them without any obligation to compensate you for them (just as you have no obligation to offer them).


   3. Safety

       We do our best to keep Facebook safe, but we cannot guarantee it. We need your help to keep Facebook safe,
       which includes the following commitments by you:
         1. You will not post unauthorized commercial communications (such as spam) on Facebook.
         2. You will not collect users' content or information, or otherwise access Facebook, using automated means
            (such as harvesting bots, robots, spiders, or scrapers) without our prior permission.
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     3.   You will not engage in unlawful multi-level marketing, such as a pyramid scheme, on Facebook.
     4.   You will not upload viruses or other malicious code.
     5.   You will not solicit login information or access an account belonging to someone else.
     6.   You will not bully, intimidate, or harass any user.
     7.   You will not post content that: is hate speech, threatening, or pornographic; incites violence; or contains
          nudity or graphic or gratuitous violence.
     8.   You will not develop or operate a third-party application containing alcohol-related, dating or other mature
          content (including advertisements) without appropriate age-based restrictions.
     9.   You will follow our Promotions Guidelines and all applicable laws if you publicize or offer any contest,
          giveaway, or sweepstakes (“promotion”) on Facebook.
    10.   You will not use Facebook to do anything unlawful, misleading, malicious, or discriminatory.
    11.   You will not do anything that could disable, overburden, or impair the proper working or appearance of
          Facebook, such as a denial of service attack or interference with page rendering or other Facebook
          functionality.
    12.   You will not facilitate or encourage any violations of this Statement or our policies.


4. Registration and Account Security

   Facebook users provide their real names and information, and we need your help to keep it that way. Here are
   some commitments you make to us relating to registering and maintaining the security of your account:
     1. You will not provide any false personal information on Facebook, or create an account for anyone other
         than yourself without permission.
     2. You will not create more than one personal account.
     3. If we disable your account, you will not create another one without our permission.
     4. You will not use your personal timeline primarily for your own commercial gain, and will use a Facebook
         Page for such purposes.
     5. You will not use Facebook if you are under 13.
     6. You will not use Facebook if you are a convicted sex offender.
     7. You will keep your contact information accurate and up-to-date.
     8. You will not share your password (or in the case of developers, your secret key), let anyone else access
         your account, or do anything else that might jeopardize the security of your account.
     9. You will not transfer your account (including any Page or application you administer) to anyone without
         first getting our written permission.
    10. If you select a username or similar identifier for your account or Page, we reserve the right to remove or
         reclaim it if we believe it is appropriate (such as when a trademark owner complains about a username that
         does not closely relate to a user's actual name).


5. Protecting Other People's Rights

   We respect other people's rights, and expect you to do the same.
    1. You will not post content or take any action on Facebook that infringes or violates someone else's rights or
        otherwise violates the law.
    2. We can remove any content or information you post on Facebook if we believe that it violates this
        Statement or our policies.
    3. We provide you with tools to help you protect your intellectual property rights. To learn more, visit our
        How to Report Claims of Intellectual Property Infringement page.
    4. If we remove your content for infringing someone else's copyright, and you believe we removed it by
        mistake, we will provide you with an opportunity to appeal.
    5. If you repeatedly infringe other people's intellectual property rights, we will disable your account when
        appropriate.
    6. You will not use our copyrights or trademarks (including Facebook, the Facebook and F Logos, FB, Face,
        Poke, Book and Wall), or any confusingly similar marks, except as expressly permitted by our Brand
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         Usage Guidelines or with our prior written permission.
     7. If you collect information from users, you will: obtain their consent, make it clear you (and not Facebook)
         are the one collecting their information, and post a privacy policy explaining what information you collect
         and how you will use it.
     8. You will not post anyone's identification documents or sensitive financial information on Facebook.
     9. You will not tag users or send email invitations to non-users without their consent. Facebook offers social
         reporting tools to enable users to provide feedback about tagging.


6. Mobile and Other Devices

     1. We currently provide our mobile services for free, but please be aware that your carrier's normal rates and
         fees, such as text messaging and data charges, will still apply.
     2. In the event you change or deactivate your mobile telephone number, you will update your account
         information on Facebook within 48 hours to ensure that your messages are not sent to the person who
         acquires your old number.
     3. You provide consent and all rights necessary to enable users to sync (including through an application) their
         devices with any information that is visible to them on Facebook.


7. Payments

   If you make a payment on Facebook or use Facebook Credits, you agree to our Payments Terms.


8. Special Provisions Applicable to Social Plugins

   If you include our Social Plugins, such as the Share or Like buttons on your website, the following additional
   terms apply to you:
      1. We give you permission to use Facebook's Social Plugins so that users can post links or content from your
         website on Facebook.
      2. You give us permission to use and allow others to use such links and content on Facebook.
      3. You will not place a Social Plugin on any page containing content that would violate this Statement if
         posted on Facebook.


9. Special Provisions Applicable to Developers/Operators of Applications and Websites

   If you are a developer or operator of a Platform application or website, the following additional terms apply to
   you:
      1. You are responsible for your application and its content and all uses you make of Platform. This includes
         ensuring your application or use of Platform meets our Facebook Platform Policies and our Advertising
         Guidelines.
      2. Your access to and use of data you receive from Facebook, will be limited as follows:
            1. You will only request data you need to operate your application.
            2. You will have a privacy policy that tells users what user data you are going to use and how you will
                use, display, share, or transfer that data and you will include your privacy policy URL in the
                Developer Application.
            3. You will not use, display, share, or transfer a user’s data in a manner inconsistent with your privacy
                policy.
            4. You will delete all data you receive from us concerning a user if the user asks you to do so, and will
                provide a mechanism for users to make such a request.
            5. You will not include data you receive from us concerning a user in any advertising creative.
            6. You will not directly or indirectly transfer any data you receive from us to (or use such data in
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                  connection with) any ad network, ad exchange, data broker, or other advertising related toolset, even
                  if a user consents to that transfer or use.
              7. You will not sell user data. If you are acquired by or merge with a third party, you can continue to
                  use user data within your application, but you cannot transfer user data outside of your application.
              8. We can require you to delete user data if you use it in a way that we determine is inconsistent with
                  users’ expectations.
              9. We can limit your access to data.
            10. You will comply with all other restrictions contained in our Facebook Platform Policies.
      3.   You will not give us information that you independently collect from a user or a user's content without that
           user's consent.
      4.   You will make it easy for users to remove or disconnect from your application.
      5.   You will make it easy for users to contact you. We can also share your email address with users and others
           claiming that you have infringed or otherwise violated their rights.
      6.   You will provide customer support for your application.
      7.   You will not show third party ads or web search boxes on www.facebook.com.
      8.   We give you all rights necessary to use the code, APIs, data, and tools you receive from us.
      9.   You will not sell, transfer, or sublicense our code, APIs, or tools to anyone.
     10.   You will not misrepresent your relationship with Facebook to others.
     11.   You may use the logos we make available to developers or issue a press release or other public statement so
           long as you follow our Facebook Platform Policies.
     12.   We can issue a press release describing our relationship with you.
     13.   You will comply with all applicable laws. In particular you will (if applicable):
              1. have a policy for removing infringing content and terminating repeat infringers that complies with the
                  Digital Millennium Copyright Act.
              2. comply with the Video Privacy Protection Act (VPPA), and obtain any opt-in consent necessary from
                  users so that user data subject to the VPPA may be shared on Facebook. You represent that any
                  disclosure to us will not be incidental to the ordinary course of your business.
     14.   We do not guarantee that Platform will always be free.
     15.   You give us all rights necessary to enable your application to work with Facebook, including the right to
           incorporate content and information you provide to us into streams, timelines, and user action stories.
     16.   You give us the right to link to or frame your application, and place content, including ads, around your
           application.
     17.   We can analyze your application, content, and data for any purpose, including commercial (such as for
           targeting the delivery of advertisements and indexing content for search).
     18.   To ensure your application is safe for users, we can audit it.
     19.   We can create applications that offer similar features and services to, or otherwise compete with, your
           application.


10. About Advertisements and Other Commercial Content Served or Enhanced by Facebook

    Our goal is to deliver advertising and other commercial or sponsored content that is valuable to our users and
    advertisers. In order to help us do that, you agree to the following:

      1. You give us permission to use your name, profile picture, content, and information in connection with
         commercial, sponsored, or related content (such as a brand you like) served or enhanced by us. This means,
         for example, that you permit a business or other entity to pay us to display your name and/or profile picture
         with your content or information, without any compensation to you. If you have selected a specific
         audience for your content or information, we will respect your choice when we use it.

      2. We do not give your content or information to advertisers without your consent.
      3. You understand that we may not always identify paid services and communications as such.
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11. Special Provisions Applicable to Advertisers

    You can target your desired audience by buying ads on Facebook or our publisher network. The following
    additional terms apply to you if you place an order through our online advertising portal (Order):
      1. When you place an Order, you will tell us the type of advertising you want to buy, the amount you want to
          spend, and your bid. If we accept your Order, we will deliver your ads as inventory becomes available.
          When serving your ad, we do our best to deliver the ads to the audience you specify, although we cannot
          guarantee in every instance that your ad will reach its intended target.
      2. In instances where we believe doing so will enhance the effectiveness of your advertising campaign, we
          may broaden the targeting criteria you specify.
      3. You will pay for your Orders in accordance with our Payments Terms. The amount you owe will be
          calculated based on our tracking mechanisms.
      4. Your ads will comply with our Advertising Guidelines.
      5. We will determine the size, placement, and positioning of your ads.
      6. We do not guarantee the activity that your ads will receive, such as the number of clicks your ads will get.
      7. We cannot control how clicks are generated on your ads. We have systems that attempt to detect and filter
          certain click activity, but we are not responsible for click fraud, technological issues, or other potentially
          invalid click activity that may affect the cost of running ads.
      8. You can cancel your Order at any time through our online portal, but it may take up to 24 hours before the
          ad stops running. You are responsible for paying for all ads that run.
      9. Our license to run your ad will end when we have completed your Order. You understand, however, that if
          users have interacted with your ad, your ad may remain until the users delete it.
     10. We can use your ads and related content and information for marketing or promotional purposes.
     11. You will not issue any press release or make public statements about your relationship with Facebook
          without our prior written permission.
     12. We may reject or remove any ad for any reason.
     13. If you are placing ads on someone else's behalf, you must have permission to place those ads, including the
          following:
             1. You warrant that you have the legal authority to bind the advertiser to this Statement.
             2. You agree that if the advertiser you represent violates this Statement, we may hold you responsible
                 for that violation.


12. Special Provisions Applicable to Pages

    If you create or administer a Page on Facebook, or run a promotion or an offer from your Page, you agree to our
    Pages Terms.


13. Special Provisions Applicable to Software

      1. If you download or use our software, such as a stand-alone software product, an app, or a browser plugin,
          you agree that from time to time, the software may download and install upgrades, updates and additional
          features from us in order to improve, enhance, and further develop the software.
      2. You will not modify, create derivative works of, decompile, or otherwise attempt to extract source code
          from us, unless you are expressly permitted to do so under an open source license, or we give you express
          written permission.


14. Amendments

      1. Unless we make a change for legal or administrative reasons, or to correct an inaccurate statement, we will
         provide you with seven (7) days notice (for example, by posting the change on the Facebook Site
         Governance Page) and an opportunity to comment on changes to this Statement. You can also visit our
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          Facebook Site Governance Page and "like" the Page to get updates about changes to this Statement.
      2. If we make changes to policies referenced in or incorporated by this Statement, we may provide notice on
          the Site Governance Page.
      3. Your continued use of Facebook following changes to our terms constitutes your acceptance of our
          amended terms.


15. Termination

    If you violate the letter or spirit of this Statement, or otherwise create risk or possible legal exposure for us, we
    can stop providing all or part of Facebook to you. We will notify you by email or at the next time you attempt to
    access your account. You may also delete your account or disable your application at any time. In all such cases,
    this Statement shall terminate, but the following provisions will still apply: 2.2, 2.4, 3-5, 8.2, 9.1-9.3, 9.9, 9.10,
    9.13, 9.15, 9.18, 10.3, 11.2, 11.5, 11.6, 11.9, 11.12, 11.13, and 15-19.


16. Disputes

      1. You will resolve any claim, cause of action or dispute (claim) you have with us arising out of or relating to
          this Statement or Facebook exclusively in the U.S. District Court for the Northern District of California or
          a state court located in San Mateo County, and you agree to submit to the personal jurisdiction of such
          courts for the purpose of litigating all such claims. The laws of the State of California will govern this
          Statement, as well as any claim that might arise between you and us, without regard to conflict of law
          provisions.
      2. If anyone brings a claim against us related to your actions, content or information on Facebook, you will
          indemnify and hold us harmless from and against all damages, losses, and expenses of any kind (including
          reasonable legal fees and costs) related to such claim. Although we provide rules for user conduct, we do
          not control or direct users' actions on Facebook and are not responsible for the content or information users
          transmit or share on Facebook. We are not responsible for any offensive, inappropriate, obscene, unlawful
          or otherwise objectionable content or information you may encounter on Facebook. We are not responsible
          for the conduct, whether online or offline, or any user of Facebook.
      3. WE TRY TO KEEP FACEBOOK UP, BUG-FREE, AND SAFE, BUT YOU USE IT AT YOUR OWN
          RISK. WE ARE PROVIDING FACEBOOK AS IS WITHOUT ANY EXPRESS OR IMPLIED
          WARRANTIES INCLUDING, BUT NOT LIMITED TO, IMPLIED WARRANTIES OF
          MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, AND NON-INFRINGEMENT.
          WE DO NOT GUARANTEE THAT FACEBOOK WILL ALWAYS BE SAFE, SECURE OR ERROR-
         FREE OR THAT FACEBOOK WILL ALWAYS FUNCTION WITHOUT DISRUPTIONS, DELAYS OR
          IMPERFECTIONS. FACEBOOK IS NOT RESPONSIBLE FOR THE ACTIONS, CONTENT,
          INFORMATION, OR DATA OF THIRD PARTIES, AND YOU RELEASE US, OUR DIRECTORS,
          OFFICERS, EMPLOYEES, AND AGENTS FROM ANY CLAIMS AND DAMAGES, KNOWN AND
          UNKNOWN, ARISING OUT OF OR IN ANY WAY CONNECTED WITH ANY CLAIM YOU HAVE
          AGAINST ANY SUCH THIRD PARTIES. IF YOU ARE A CALIFORNIA RESIDENT, YOU WAIVE
          CALIFORNIA CIVIL CODE §1542, WHICH SAYS: A GENERAL RELEASE DOES NOT EXTEND
          TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR
          AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM MUST HAVE
          MATERIALLY AFFECTED HIS SETTLEMENT WITH THE DEBTOR. WE WILL NOT BE LIABLE
          TO YOU FOR ANY LOST PROFITS OR OTHER CONSEQUENTIAL, SPECIAL, INDIRECT, OR
          INCIDENTAL DAMAGES ARISING OUT OF OR IN CONNECTION WITH THIS STATEMENT OR
          FACEBOOK, EVEN IF WE HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.
          OUR AGGREGATE LIABILITY ARISING OUT OF THIS STATEMENT OR FACEBOOK WILL NOT
          EXCEED THE GREATER OF ONE HUNDRED DOLLARS ($100) OR THE AMOUNT YOU HAVE
          PAID US IN THE PAST TWELVE MONTHS. APPLICABLE LAW MAY NOT ALLOW THE
          LIMITATION OR EXCLUSION OF LIABILITY OR INCIDENTAL OR CONSEQUENTIAL
          DAMAGES, SO THE ABOVE LIMITATION OR EXCLUSION MAY NOT APPLY TO YOU. IN
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            SUCH CASES, FACEBOOK'S LIABILITY WILL BE LIMITED TO THE FULLEST EXTENT
            PERMITTED BY APPLICABLE LAW.


17. Special Provisions Applicable to Users Outside the United States

    We strive to create a global community with consistent standards for everyone, but we also strive to respect local
    laws. The following provisions apply to users and non-users who interact with Facebook outside the United
    States:
      1. You consent to having your personal data transferred to and processed in the United States.
      2. If you are located in a country embargoed by the United States, or are on the U.S. Treasury Department's
          list of Specially Designated Nationals you will not engage in commercial activities on Facebook (such as
          advertising or payments) or operate a Platform application or website. You will not use Facebook if you
          are prohibited from receiving products, services, or software originating from the United States.
      3. Certain specific terms that apply only for German users are available here.

18. Definitions

       1. By "Facebook" we mean the features and services we make available, including through (a) our website at
          www.facebook.com and any other Facebook branded or co-branded websites (including sub-domains,
           international versions, widgets, and mobile versions); (b) our Platform; (c) social plugins such as the Like
           button, the Share button and other similar offerings and (d) other media, software (such as a toolbar),
           devices, or networks now existing or later developed.
       2. By "Platform" we mean a set of APIs and services (such as content) that enable others, including
           application developers and website operators, to retrieve data from Facebook or provide data to us.
       3. By "information" we mean facts and other information about you, including actions taken by users and non-
          users who interact with Facebook.
       4. By "content" we mean anything you or other users post on Facebook that would not be included in the
           definition of information.
       5. By "data" or "user data" or "user's data" we mean any data, including a user's content or information that
           you or third parties can retrieve from Facebook or provide to Facebook through Platform.
       6. By "post" we mean post on Facebook or otherwise make available by using Facebook.
       7. By "use" we mean use, run, copy, publicly perform or display, distribute, modify, translate, and create
           derivative works of.
       8. By "active registered user" we mean a user who has logged into Facebook at least once in the previous 30
           days.
       9. By "application" we mean any application or website that uses or accesses Platform, as well as anything
           else that receives or has received data from us. If you no longer access Platform but have not deleted all
           data from us, the term application will apply until you delete the data.


19. Other

       1. If you are a resident of or have your principal place of business in the US or Canada, this Statement is an
           agreement between you and Facebook, Inc. Otherwise, this Statement is an agreement between you and
           Facebook Ireland Limited. References to “us,” “we,” and “our” mean either Facebook, Inc. or Facebook
           Ireland Limited, as appropriate.
       2. This Statement makes up the entire agreement between the parties regarding Facebook, and supersedes any
           prior agreements.
       3. If any portion of this Statement is found to be unenforceable, the remaining portion will remain in full force
           and effect.
       4. If we fail to enforce any of this Statement, it will not be considered a waiver.
       5. Any amendment to or waiver of this Statement must be made in writing and signed by us.
       6. You will not transfer any of your rights or obligations under this Statement to anyone else without our
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             consent.
        7.   All of our rights and obligations under this Statement are freely assignable by us in connection with a
             merger, acquisition, or sale of assets, or by operation of law or otherwise.
        8.   Nothing in this Statement shall prevent us from complying with the law.
        9.   This Statement does not confer any third party beneficiary rights.
       10.   We reserve all rights not expressly granted to you.
       11.   You will comply with all applicable laws when using or accessing Facebook.


You may also want to review the following documents, which provide additional information about your use of
Facebook:

     Data Use Policy: The Data Use Policy contains information to help you understand how we collect and use
     information.
     Payment Terms: These additional terms apply to all payments made on or through Facebook.
     Platform Page: This page helps you better understand what happens when you add a third-party application or use
     Facebook Connect, including how they may access and use your data.
     Facebook Platform Policies: These guidelines outline the policies that apply to applications, including Connect
     sites.
     Advertising Guidelines: These guidelines outline the policies that apply to advertisements placed on Facebook.
     Promotions Guidelines: These guidelines outline the policies that apply if you offer contests, sweepstakes, and
     other types of promotions on Facebook.
     Facebook Brand Resources: These guidelines outline the policies that apply to use of Facebook trademarks, logos
     and screenshots.
     How to Report Claims of Intellectual Property Infringement
     Pages Terms: These guidelines apply to your use of Facebook Pages.
     Community Standards: These guidelines outline our expectations regarding the content you post to Facebook and
     your activity on Facebook.


To access the Statement of Rights and Responsibilities in several different languages, change the language setting for
your Facebook session by clicking on the language link in the left corner of most pages. If the Statement is not
available in the language you select, we will default to the English version.
